






			

								

	




NUMBER 13-03-00392-CR 



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI - EDINBURG  


                                                                                                                      


BARRY LOUIS PIZZO,							Appellant,


v.



THE STATE OF TEXAS,						         Appellee.

                                                                                                                       


On appeal from the 12th District Court 

of Grimes County, Texas.

                                                                                                                      


MEMORANDUM OPINION ON REMAND 


Before Chief Justice Valdez and Justices Yañez and Rodriguez


Memorandum Opinion on Remand by Justice Rodriguez




	A jury found appellant, Barry Louis Pizzo, guilty of indecency with a child.  It
sentenced him to nine years imprisonment and assessed a $7,000.00 fine.  On original
submission, relying on Kitchens v. State, 823 S.W.2d 256, 258 (Tex. Crim. App. 1991) (en
banc), and finding that the jury instruction properly charged different methods of
commission disjunctively, this Court affirmed.  See Pizzo v. State, No. 13-03-392-CR, 2005
Tex. App. LEXIS 5457, at *2-4 (Tex. App.-Corpus Christi July 14, 2005) (mem. op. not
designated for publication), rev'd, 235 S.W.3d 711 (Tex. Crim. App. 2007).  The Texas
Court of Criminal Appeals granted review and found error.  Pizzo v. State, 235 S.W.3d 711,
714, 719 (Tex. Crim. App. 2007).  Concluding that "the jury instruction improperly charged
two separate offenses in the disjunctive and therefore permitted a conviction on less than
a unanimous verdict," it reversed our judgment and remanded this case for a harm
analysis.  Id.  On remand, because we find some harm, we reverse the judgment of the trial
court and remand for a new trial.

I.  Background

	The court of criminal appeals set out the background in this case as follows:

		Pizzo was charged with, among other things, indecency with a child
by contact in violation of Section 21.11(a)(1) of the Penal Code. (1)  Counts II
and III of the indictment alleged that Pizzo


		on or about the 21st day of June, 2001 . . . did then and there,
with the intent to arouse and gratify the sexual desire of said
Defendant, intentionally and knowingly engage in sexual
contact by touching the GENITALS AND BREASTS, of [A.S.],
a child younger than 17 years of age and not the spouse of the
Defendant.


	The evidence presented at trial showed that on two separate
occasions--one in A.S.'s house and one in Pizzo's trailer--Pizzo touched
both the breasts and genitals of A.S.  At the charge conference, asserting his
right to a unanimous jury verdict, Pizzo objected to the proposed charge
because the application paragraphs as to Counts II and III set out the form
of sexual contact in the disjunctive.  Pizzo stated:


		the words 'breast' or 'genitals' in each, are charged obviously
in the disjunctive.  I'm requesting that they be charged in the
conjunctive with an 'and' because otherwise, you don't know if
six jurors decided 'genitals' and six decided 'breasts,' and the
possibility of a non-unanimous verdict because it's charged in
the same paragraph.


	The trial judge overruled the objection and the charge submitted to the jury
on Counts II and III read, in part, as follows:

	

		if you find from the evidence, beyond a reasonable doubt, that
on or about the 21st day of June, 2001 in Grimes County,
Texas the defendant, BARRY LOUIS PIZZO, did then and
there intentionally or knowingly engage in sexual contact with
[A.S.] by touching the genitals or breasts of [A.S.], and [A.S.]
was then and there under the age of seventeen years and not
the spouse of the defendant, and that said act, if any, was
committed with the intent on the part of the defendant to
arouse or gratify the sexual desire of himself, then you will find
the defendant guilty . . . .


	As to Count II, the jury found Pizzo guilty and sentenced him to nine years'
imprisonment and assessed a $ 7,000 fine.  And, as to Count III, the jury
found Pizzo not guilty.

	

Pizzo, 235 S.W.3d at 712-13 (remaining footnotes omitted).  Finally, as to Count I, the jury
found Pizzo not guilty of sexual assault of a child--an act of oral sex that allegedly
occurred on June 21, 2001.

	Pizzo appealed his conviction under Count II, asserting in his sole point of error that
the trial judge erred "by overruling his objection to the court's charge requesting that the
terms 'breast or genitals' be charged in the conjunctive rather than in the disjunctive."  Id.
at 713.  Relying on Kitchens, we concluded that because the touching of the breasts and
genitals occurred during the same encounter, they were not separate offenses but were
only different means of committing the offense of indecency with a child by contact; thus,
there was no error.  Pizzo, 2005 Tex. App. LEXIS 5457 at *3-4 (citing Kitchens, 823
S.W.2d at 258).

	The court of criminal appeals granted Pizzo's petition for discretionary review. 
Pizzo, 235 S.W.3d at 714.  In its opinion, after extensively analyzing sections 22.11 and
22.01 of the penal code, the court concluded that the offense of indecency with a child was
a conduct-oriented offense.  See id. at 714-19 (citing Stuhler v. State, 218 S.W.3d 706,
718-19 (Tex. Crim. App. 2007); Vick v. State, 991 S.W.2d 830, 832-33 (Tex. Crim. App.
1999)).  The court explained that,

	"[s]exual contact" . . . criminalizes three separate types of conduct--touching
the anus, touching the breast, and touching the genitals with the requisite
mental state. (2)  Therefore, each act constitutes a different criminal offense
and juror unanimity is required as to the commission of any one of these
acts.  Because the indictment charged Pizzo with touching the breasts and
genitals of A.S. in the conjunctive, Pizzo's right to a unanimous verdict was
possibly violated by the trial judge's jury instruction charging breasts and
genitals in the disjunctive. . . .  [T]he instruction here allowed the jury to
convict Pizzo without reaching a unanimous verdict on the same act.  It is
possible that six jurors convicted Pizzo for touching the breasts of A.S. while
six others convicted Pizzo for touching the genitals of A.S.

Id. at 719 (footnote added).  Because the trial judge's jury instruction permitted a conviction
on less than a unanimous verdict, the court of criminal appeals concluded we erred in
holding otherwise and reversed the judgment of the trial court and remanded the case to
this Court for a harm analysis under Almanza v. State, 686 S.W.2d 157, 171 (Tex. Crim.
App. 1984) (en banc).  Id.

II.  Applicable Law

	"Under our state constitution, jury unanimity is required in felony cases, and, under
our state statutes, unanimity is required in all criminal cases."  Id. (quoting Ngo v. State,
175 S.W.3d 738, 745 (Tex. Crim. App. 2005) (en banc)).  "The unanimity requirement is
undercut when a jury risks convicting the defendant on different acts, instead of agreeing
on the same act for a conviction."  Francis v. State, 36 S.W.3d 121, 125 (Tex. Crim. App.
2000).  Error having been found in this case, we must now evaluate whether sufficient
harm resulted to require reversal.  See Abdnor v. State, 871 S.W.2d 726, 731-32 (Tex.
Crim. App. 1994) (en banc).

	Pizzo properly objected to the improper charge; therefore, reversal is required if the
error is "calculated to injure the rights of defendant," which means no more than that there
must be some harm to the accused from the error.  Almanza, 686 S.W.2d at 171; see Tex.
Code Crim. Proc. Ann. art. 36.19 (Vernon 2006); see also Abdnor, 871 S.W.2d at 731-32. 
In other words, an error, properly preserved, will call for reversal as long as the error is not
harmless.  Almanza, 686 S.W.2d at 171.  The actual degree of harm must be assayed in
light of the entire jury charge, the state of the evidence, including the contested issues and
weight of probative evidence, the argument of counsel and any other relevant information
revealed by the record of the trial as a whole.  Id.; compare Landrian v. State, No. 01-05-00697-CR, 2007 Tex. App. LEXIS 6290, *20-27 (Tex. App.-Houston [1st Dist.] August 9,
2007, pet. granted) (designated for publication) (analyzing four Almanza factors and finding
some harm in a less-than-unanimous-verdict aggravated assault case) and Giesberg v.
State, 945 S.W.2d 120, 130-31 (Tex. App.-Houston [1st Dist.] 1997) (supplemental opinion
on motion for rehr'g) aff'd, 984 S.W.2d 245 (Tex. Crim. App. 1998) (analyzing four Almanza
factors and finding no harm in a less-than-unanimous-verdict murder case) with In re M.P.,
126 S.W.3d 228, 232 (Tex. App. San Antonio 2003, no. pet.) (concluding M.P. clearly
suffered at minimum some harm from this jury charge since it is unclear whether the jury
was unanimous in finding M.P. guilty of any of the offenses listed in the charge, without
analyzing the four Almanza factors in a juvenile matter) and Francis v. State, 53 S.W.3d
685, 687 (Tex. App.-Fort Worth 2001, pet. ref'd) (holding that some harm was shown
because the jury was capable of returning a less than unanimous verdict, without analyzing
the four Almanza factors in an indecency-with-a-child case).

III.  Harm

A.  The Entire Jury Charge

	The jury instruction regarding Count II indecency with a child charged two separate
offenses in the disjunctive, allowing for the possibility of six jurors convicting Pizzo for
touching the breasts of A.S. and six others convicting Pizzo for touching the genitals of
A.S., as the court of criminal appeals concluded in finding error.  This possibility is enough
for a determination of error in the unanimity of a charge.  See Pizzo, 235 S.W.3d at 719.

	Our review of the entire jury charge also reveals that the charge contained a second
application paragraph--Count III indecency with a child--that used language identical to
that used in the application paragraph for Count II.  It, too, charged that the jury was to find
Pizzo guilty if it concluded that he "engage[d] in sexual contact with [A.S.] by touching the
genitals or breasts of [A.S.] . . . and that said act, if any, was committed with the intent on
the part of the defendant to arouse or gratify the sexual desire of himself . . . ."  With this
application paragraph the jury was charged to consider two separate offenses--touching
the genitals of A.S. or touching the breasts of A.S. on a second occasion.  Pizzo was found
guilty of Count II and was acquitted of Count III.  He was also acquitted of Count I, the
sexual assault charge.

	Based on our review of the trial record, we cannot determine of which act or acts
Pizzo was acquitted in Count III.  Perhaps the jury found appellant not guilty of the
touchings that allegedly occurred at A.S.'s house because it also acquitted Pizzo of sexual
assault, an act that allegedly happened during the same episode.  Or, perhaps the jury
acquitted Pizzo for the alleged touchings that occurred at the trailer because it determined
that the counts were set out chronologically and Count II referred to the episode at A.S.'s
house and Count III to the episode that happened later at Pizzo's trailer.  We can only
speculate as to which offense the jury found Pizzo guilty and which offense it found him
not guilty and as to whether this affected the unanimity of the verdict.

	In addition, the application paragraph submitted to the jury on Count II did not
instruct the jury that it must be unanimous in deciding which one (or more) of the submitted
offenses it found Pizzo committed.  As the court of criminal appeals expressed in Ngo,
while we acknowledge that the words "unanimous" or "unanimously" are not required in a
jury charge, because Texas law explicitly requires a jury's verdict to be unanimous, the
addition of the word before the description of each distinct criminal act in an application
paragraph would "merely be one way to implement that legal requirement."  175 S.W.3d
at 749 n.44.  Moreover, while the charge generally referred to a unanimous verdict, it did
so only when the jury was instructed with regard to its deliberations--"when you have
unanimously agreed upon a verdict" and "[a]fter you have reached a unanimous verdict." 
And, there was not a separate general unanimity instruction in the application paragraphs.

B.  The Evidence

	The court of criminal appeals found the evidence showed that Pizzo touched both
the breasts and genitals of A.S. on two separate occasions--at the house and in the trailer. 
See Pizzo, 235 S.W.3d at 712-13.  This evidence, however, was contested by testimony
provided by Pizzo, who denied committing any of the offenses.  Additionally, at trial, after
a day of cross-examination, A.S. admitted that she was not "completely honest" the
previous day.  Pizzo, likewise, presented trial testimony that conflicted, as all parties agree,
with portions of a statement he had given in this case.  With one guilty verdict and two not
guilty verdicts, the jury possibly questioned the credibility of both witnesses.  Moreover, as
often happens in an indecency-with-a-child case, there were no eyewitnesses.C.  Argument of Counsel

	The State did not address juror unanimity in its closing argument, either generally
or specifically as to each count.  During the charge conference outside the presence of the
jury, following Pizzo's objection that there was a possibility of a non-unanimous verdict
because the offenses were charged in the disjunctive, the State responded that "[t]he law
exists that you can plead manner and means in the conjunctive and prove in the
disjunctive."  As determined by the court of criminal appeals in this case, this is an incorrect
statement of law.  See Pizzo, 235 S.W.3d at 714-19.  However, our review of the record,
specifically voir dire and closing argument, reveals no occasion where the State made
misstatements of law to the jury regarding the requirement of a unanimous verdict, and
Pizzo raises no such contention.D.  Other Relevant Information

	During voir dire the trial court correctly informed the jury that "in a criminal case the
verdict must be unanimous."  However, a note from the jury to the court during
deliberations suggests some confusion regarding unanimity.  The note read as follows: 
"Do the counts in the charge have to be tied to each of the specific instances we have
heard evidence about?"  The trial court's response was "yes."

E.  Determination of Some Harm

	The charge did not require the jury to decide unanimously whether appellant
touched the breasts of A.S. or to decide unanimously whether appellant touched the
genitals of A.S.--two separate offenses for which a unanimous verdict is required.  This
error was further compounded by the inclusion of a second application paragraph using
identical language for a second indecency-with-a-child count.  There is no reference in the
charge or in the record as a whole to which episode each application paragraph applied. 
Additionally, the jury appeared concerned about how the counts were to be "tied" to "each
of the specific instances" about which evidence was heard.  These charge-related matters
favor a finding of some harm.

	Regarding the state of the evidence, there was conflicting testimony provided by the
victim and Pizzo, both of whom had their credibility attacked.  Concluding that every
member of the jury unanimously believed A.S. with regard to either the touching of the
breast or the touching of the genitals as charged in Count II, or with regard to both, would
be mere speculation.  Therefore, we conclude that the status of the evidence supports a
finding of some harm.

	Finally, from our review of the record, including voir dire and the State's argument,
we have identified no other instances that would impact our determination of harm in this
case.

	Based on the above, we conclude some harm has been shown to Pizzo from the
error.  See Almanza, 686 S.W.2d at 171.  We sustain Pizzo's sole issue.

IV.  Conclusion

	We reverse the trial court's judgment and remand this case to the trial court for a
new trial.

																		NELDA V. RODRIGUEZ

							Justice


Do not publish.				

Tex. R. App. P. 47.2(b).


Memorandum Opinion on Remand delivered 

and filed this 17th day of July, 2008.
1. Tex. Penal Code Ann. § 21.11(a)(1) (Vernon Supp. 2000); id. § 21.01(2) (Vernon Supp. 1989), Acts,
1979, 66th Leg., ch. 168, § 1, eff. Aug. 27, 1979.  (Footnote in original.)
2. Section 21.11 provides the following:  "(a) A person commits an offense if, with a child younger than
17 years and not his spouse, whether the child is of the same or opposite sex, he: (1) engages in sexual
contact with the child; . . . ."  Tex. Penal Code Ann.  § 21.11(a)(1) (Vernon 2003).  The definition of "sexual
contact" in effect when Pizzo committed the offense was  "any touching of the anus, breast, or any part of the
genitals of another person with intent to arouse or gratify the sexual desire of any person."  Id. § 21.01 (2)
(currently codified at Tex. Penal Code Ann. § 22.11(c) (Vernon 2003), Acts 77th Leg., ch. 739 § 2, eff. Sept.
1, 2001).


